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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.


           MEMORANDUM IN SUPPORT OF COX’S EMERGENCY MOTION
                TO EXCEED PAGE LIMIT FOR ITS MEMORANDUM
              IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

                                         Hearing Waived

        Cox files this Memorandum in Support of its Emergency Motion to Exceed the Page

Limit for its Memorandum in Support of Motion for Summary Judgment (“Motion”) set forth in

Rule 7(F)(3) of the Local Rules of the U.S. District Court for the Eastern District of Virginia. For

the reasons set forth below, this request is justified and reasonable, and Cox has demonstrated

good cause for granting the Motion.

   I.      BACKGROUND

        This case arises out of allegations by 53 music industry Plaintiffs that between February

1, 2013 and November 26, 2014, subscribers to Cox’s Internet service infringed the copyrights of

nearly 10,500 works allegedly owned by Plaintiffs. ECF 136, 172-1, 172-2. Plaintiffs, seeking to

hold Cox secondarily liable for its subscribers’ alleged acts, argue that Cox is a contributory

infringer, and that Cox should be held vicariously liable for its subscribers’ acts during this 22-

month period. Plaintiffs seek up to $1.6 billion in statutory damages for willful copyright

infringement.
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         The parties have conducted substantial discovery, including fifteen depositions of

representatives from the six Plaintiff groups; eleven current or former Cox employees; half a

dozen third parties; and multiple expert witnesses on both sides. The parties have also engaged in

extensive written discovery, exchanging hundreds of thousands of pages of documents in the

ordinary course of discovery, and serving document subpoenas on a number of third parties.

         During the Court’s June 21, 2019 Status Conference, the parties indicated that each side

would be moving for summary judgment on several issues. The Court directed the parties to file

consolidated motions addressing all of the issues, but indicated that it would entertain a request

to increase the page numbers for the memorandums in support of the motion. On August 23,

Cox’s attorneys contacted Plaintiffs’ attorneys, seeking a stipulation to increase each side’s page

limit by ten pages to a total of 40 pages for their opening briefs. Plaintiffs declined to stipulate,

and instead proposed that the parties stipulate to a 35-page limit. Because Cox has good cause

for seeking ten additional pages for its opening brief, it files this motion. Cox does not object to

Plaintiffs seeking an additional five pages for their own opening brief, if they have good cause to

do so.

   II.      ARGUMENT

         The parties will file cross-motions for summary judgment on Friday, August 30, at which

time Cox will assert several legal grounds supporting its Motion. Pursuant to Local Rule 56(B),

in support of its Motion for Summary Judgment, Cox must set forth, in its supporting brief, all of

the undisputed facts on which its motion relies, together with citations to the record that support

those facts.

         The facts on which Cox intends to rely in its motion are undisputed, but they are of

necessity complex. There are 53 Plaintiffs remaining in this case (comprising both record




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companies and music publishers), who claim in the aggregate nearly 10,500 works (consisting of

both sound recordings and musical compositions). Plaintiffs’ claims rely on hundreds of

thousands of copyright notices sent by their agent, the RIAA, on behalf of some, though not all,

of the Plaintiffs. Plaintiffs’ agent, in turn, relied on the services of multiple third-party vendors to

detect and analyze putative infringements and send notices alleging copyright infringement to

Cox. Those notices targeted tens of thousands of Cox subscribers, not all of whom were similarly

situated. Accordingly, documents and testimony relevant to Cox’s motion for summary judgment

came from many different sources.

        Cox requires more than 30-pages to properly set forth the undisputed facts necessary for

its Motion for Summary Judgment. Cox believes that a page limit of no more than 40 pages is

adequate to permit it to adequately set forth the undisputed facts, as well as the argument in

support of its motion for summary judgment.

        Accordingly, in the interest of justice, Cox respectfully requests that the Court grant its

Emergency Motion to Exceed Page Limit for Cox’s Motion for Summary Judgment, and permit

it to file an opening brief no longer than forty (40) pages in length. Cox waives oral argument on

this Motion.



Dated: August 25, 2019

                                                        Respectfully submitted,

                                                        /s/ Thomas M. Buchanan
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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 25, 2019, the foregoing was filed and served
electronically by the Court’s CM/ECF system upon all registered users.


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